Case 1:06-cr-50128-DDD-JDK   Document 75   Filed 01/08/08   Page 1 of 5 PageID #:
                                    190
Case 1:06-cr-50128-DDD-JDK   Document 75   Filed 01/08/08   Page 2 of 5 PageID #:
                                    191
Case 1:06-cr-50128-DDD-JDK   Document 75   Filed 01/08/08   Page 3 of 5 PageID #:
                                    192
Case 1:06-cr-50128-DDD-JDK   Document 75   Filed 01/08/08   Page 4 of 5 PageID #:
                                    193
Case 1:06-cr-50128-DDD-JDK   Document 75   Filed 01/08/08   Page 5 of 5 PageID #:
                                    194
